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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO.:

 JOEY LITTLE,

                Plaintiff,

 vs.

 SERVICE FINANCE COMPANY, LLC,
 a Limited Liability Company, and
 MARK BERCH, an Individual,

             Defendants.
 ________________________________________/

                                            COMPLAINT

        COMES NOW Plaintiff, JOEY LITTLE, by and through her undersigned counsel, and sues

 the Defendants, SERVICE FINANCE COMPANY, LLC (hereinafter, referred to as “SERVICE

 FINANCE”), and MARK BERCH, individually, (hereinafter, collectively referred to as

 “Defendants”) and allege as follows:

        1.      That Plaintiff, a former employee of the Defendants, brings this action to recover

 compensation and other relief under the Fair Labor Standards Act, as amended (the "FLSA"), 29

 U.S.C. § 201 et seq.. The gravamen of this case is that the Plaintiff was retaliated against for

 pursuing his rights under the FLSA in violation of Federal law.

        2.      That jurisdiction is conferred on this Court by 29 U.S.C. § 215(a)(3) (“anti-retaliation

 provision”), 28 U.S.C §§ 1331 and 1367, and 42 U.S.C. §2000e-5(f)(3).

        3.      That the unlawful employment practices alleged below occurred and/or were

 committed within this judicial district.



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         4.      That at all times material hereto, Plaintiff was and is presently a resident of this

 judicial district, sui juris and otherwise within the jurisdiction of this Court.

         5.      That at all times material hereto, Defendants were the employers of the Plaintiff, were

 conducting business in this judicial district, and whether ‘employers’ or not under the FLSA, are still

 subject to the anti-retaliation provision of the FLSA. “The FLSA's prohibition on retaliation is

 broader than its coverage of minimum wage or overtime wage violations, and applies even if the

 employee cannot show ‘individual coverage’ or ‘enterprise coverage.’” Obregon v. Jep Family

 Enterprises, Inc., 710 F. Supp. 2d 1311, 1314 (S.D. Fla. 2010); see Wirtz v. Ross Packaging Co., 367

 F.2d 549, 550–51 (5th Cir.1966) (the “unambiguous language of the statute refutes the district

 court's view that either the employee or his employer must be engaged in activities covered by the

 [FLSA's] wage and hour provisions in order for the strictures against discriminatory discharge to be

 invoked.”).

         6.      That at all times material hereto, Defendant, MARK BERCH individually, acted

 directly in the interests of his employer, the Defendant, SERVICE FINANCE, in relation to the

 Plaintiff, and this individual Defendant exercised the requisite legal control and otherwise

 administered the illegal acts as described herein on behalf of the Defendant, SERVICE FINANCE.

         7.      Plaintiff began working for the Defendants in March 2019, as a Collector/Billing.

         8.      Plaintiff lodged numerous complaints with his supervisor, manager, and operations

 manager, as well as the Vice President of collections, regarding the company’s illegal break time

 practices.

         9.      Specifically, the Defendants were docking Plaintiff thirty-minutes for lunch even if he

 took less than thirty minutes.

         10.     For months, Defendant, MARK BERCH, told Plaintiff that he would compensate

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 Plaintiff for the time he was illegally docked pay.

           11.    In turn, Plaintiff advised that he was not concerned, because he would have no

 problem simply suing Defendants for these unlawfully withheld wages.

           12.    In or about May and June 2019, Defendant, MARK BERCH paid some overtime to

 Plaintiff, without indicating what hours or time period it covered.

           13.    Directly after Defendants made these payments, however, Defendant, MARK

 BERCH terminated Plaintiff’s employment under a bogus pretext.

           14.    There is no question that the Defendants retaliated against the Plaintiff for his

 complaints.

                                        COUNT I
                             FLSA OVERTIME-SERVICE FINANCE

           Plaintiff incorporates by reference the allegations contained in paragraphs 1 through 14

 above.

           15.    Plaintiff is entitled to time and one half for each hour worked in excess of forty (40)

 hours per work week pursuant to the FLSA.

           16.    By reason of the intentional, willful and unlawful acts of the Defendant, SERVICE

 FINANCE, in violation of the FLSA, Plaintiff has suffered damages.

           WHEREFORE, Plaintiff demands judgment against the Defendant, SERVICE FINANCE,

 for all damages and relief under the FLSA, including liquidated damages (and/or pre-judgment

 interest), attorneys’ fees, costs and expenses, in addition to all other relief this Court deems just and

 proper.




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                                          COUNT II
                                    FLSA OVERTIME-BERCH

          Plaintiff incorporates by reference the allegations contained in paragraphs 1 through 14

 above.

          17.    Plaintiff is entitled to time and one half for each hour worked in excess of forty (40)

 hours per work week pursuant to the FLSA.

          18.    By reason of the intentional, willful and unlawful acts of the Defendant, MARK

 BERCH, in violation of the FLSA, Plaintiff has suffered damages.

          WHEREFORE, Plaintiff demands judgment against the Defendant, MARK BERCH, for all

 damages and relief under the FLSA, including liquidated damages (and/or pre-judgment interest),

 attorneys’ fees, costs and expenses, in addition to all other relief this Court deems just and proper.

                                       COUNT III
                           FLSA RETALIATION-SERVICE FINANCE

          Plaintiff incorporates by reference the allegations contained in paragraphs 1 through 14 of

 this Complaint.

          19.    The Defendant, SERVICE FINANCE’s termination of the Plaintiff was directly in

 retaliation for his complaints of FLSA violations.

          20.    The Defendant, SERVICE FINANCE’s conduct constitutes unlawful retaliation under

 the FLSA, and such actions were willful and malicious and, as a direct and proximate result of the

 Defendant’s unlawful and retaliatory conduct, the Plaintiff has suffered damages.

          WHEREFORE, Plaintiff, JOEY LITTLE, demands judgment against the Defendant,

 SERVICE FINANCE, for all damages and relief under the FLSA, including attorneys’ fees, costs

 and expenses, in addition to all other relief this Court deems just and proper.




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                                       COUNT IV
                             FLSA RETALIATION-MARK BERCH

        Plaintiff incorporates by reference the allegations contained in paragraphs 1 through 14 of

 this Complaint.

        21.     The Defendant, MARK BERCH’s termination of the Plaintiff was directly in

 retaliation for his complaints of FLSA violations.

        22.     The Defendant, MARK BERCH’s conduct constitutes unlawful retaliation under the

 FLSA, and such actions were willful and malicious and, as a direct and proximate result of the

 Defendant’s unlawful and retaliatory conduct, the Plaintiff has suffered damages.

        WHEREFORE, Plaintiff, JOEY LITTLE, demands judgment against the Defendant,

 MARK BERCH, for all damages and relief under the FLSA, including attorneys’ fees, costs and

 expenses, in addition to all other relief this Court deems just and proper.

                                  DEMAND FOR JURY TRIAL

        Plaintiff, JOEY LITTLE, demands trial by jury.

        Dated: September 30, 2019.             Respectfully submitted,

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